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                               UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF NEW YORK


       In re: 71 QUINCY STREET CORP.                                §     Case No. 1-17-40458-ESS
                                                                    §
                                                                    §
   Debtor(s)                                                        §
         CHAPTER 7 TRUSTEE'S FINAL ACCOUNT AND DISTRIBUTION
  REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                 AND APPLICATION TO BE DISCHARGED (TDR)

         GREGORY M. MESSER,TRUSTEE, chapter 7 trustee, submits this Final Account,
Certification that the Estate has been Fully Administered and Application to be Discharged.

         1) All funds on hand have been distributed in accordance with the Trustee's Final Report
and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee's control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

        2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
discharged without payment, and expenses of administration is provided below:


 Assets Abandoned: $3,000.00                          Assets Exempt: N/A
 (without deducting any secured claims)
 Total Distribution to Claimants:$955,704.42         Claims Discharged
                                                     Without Payment: N/A

 Total Expenses of Administration:$432,765.04


         3) Total gross receipts of $ 2,309,823.45 (see Exhibit 1 ), minus funds paid to the debtor
 and third parties of $   921,353.99 (see Exhibit 2 ), yielded net receipts of $1,388,469.46
from the liquidation of the property of the estate, which was distributed as follows:




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                                        CLAIMS              CLAIMS             CLAIMS             CLAIMS
                                      SCHEDULED            ASSERTED           ALLOWED              PAID


 SECURED CLAIMS
 (from Exhibit 3)                              $0.00         $884,956.75        $955,704.42       $955,704.42

 PRIORITY CLAIMS:
    CHAPTER 7 ADMIN. FEES
    AND CHARGES
    (from Exhibit 4 )                           0.00          435,013.54        432,765.04         432,765.04

   PRIOR CHAPTER
   ADMIN. FEES AND
   CHARGES (fromExhibit 5 )                     0.00                0.00               0.00                 0.00
   PRIORITY UNSECURED
   CLAIMS (from Exhibit 6 )                     0.00                0.00               0.00                 0.00
 GENERAL UNSECURED
 CLAIMS (fromExhibit 7)                         0.00                0.00               0.00                 0.00

                                               $0.00       $1,319,970.29      $1,388,469.46      $1,388,469.46
 TOTAL DISBURSEMENTS

          4) This case was originally filed under Chapter 7 on February 01, 2017.
  The case was pending for 13 months.

          5) All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

           6) An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8 . The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9 .

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

  Dated: 02/19/2018                 By: /s/GREGORY M. MESSER,TRUSTEE
                                        Trustee


  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. §1320.4(a)(2) applies.




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                                                                  EXHIBITS TO
                                                                FINAL ACCOUNT



EXHIBIT 1 GROSS RECEIPTS

                                                                                           UNIFORM                                  $ AMOUNT
               DESCRIPTION
                                                                                          TRAN. CODE 1                              RECEIVED
     71 QUINCY STREET, BROOKLYN, NEW YORK               11238                             1110-000                                  2,309,823.45


    TOTAL GROSS RECEIPTS                                                                                                        $2,309,823.45

1
    The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


EXHIBIT 2 FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                           UNIFORM                                  $ AMOUNT
        PAYEE                                      DESCRIPTION
                                                                                          TRAN. CODE                                   PAID
 DIBRIEL RAGSDALE                                 Final Distribution Dividend
                                                  paid 100.00% on $921,353.99;
                                                  Claim# DR; Filed:
                                                  $920,853.99                  8500-002                                              921,353.99

    TOTAL FUNDS PAID TO DEBTOR AND THIRD                                                                                            $921,353.99
    PARTIES

EXHIBIT 3 SECURED CLAIMS


                                                      UNIFORM          CLAIMS
       CLAIM                                                          SCHEDULED               CLAIMS                  CLAIMS              CLAIMS
        NO.               CLAIMANT                     TRAN.           (from Form            ASSERTED                ALLOWED               PAID
                                                       CODE                6D)
           1      New York City Dept of                4110-000            N/A                        959.09                 0.00                  0.00
                  Finance
           2      New York City Dept of                4110-000            N/A                        959.09                 0.00                  0.00
                  Finance
           3      New York City Dept of                4110-000            N/A                       1,420.83                0.00                  0.00
                  Finance
           4      VSP Realty LLC                       4110-000            N/A                   881,617.74            955,704.42           955,704.42


    TOTAL SECURED CLAIMS                                                          $0.00         $884,956.75           $955,704.42          $955,704.42




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EXHIBIT 4 CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                       UNIFORM
    PAYEE                                            CLAIMS          CLAIMS             CLAIMS        CLAIMS
                                        TRAN.
                                                    SCHEDULED       ASSERTED           ALLOWED         PAID
                                        CODE
 Trustee Compensation - GREGORY M.           2100-000         N/A          92,544.70      92,544.70     92,544.70
 MESSER,TRUSTEE
 Trustee Expenses - GREGORY M.               2200-000         N/A              22.00          22.00         22.00
 MESSER,TRUSTEE
 Other - NYC DEPARTMENT OF FINANCE           2820-000         N/A         141,096.00     141,096.00    141,096.00

 Other - NYS CORPORATION TAX                 2820-000         N/A           1,000.00       1,000.00      1,000.00

 Other - LAMONICA HERBST & MANISCALCO, LLP   3210-000         N/A          48,059.50      47,071.00     47,071.00

 Other - LAMONICA HERBST & MANISCALCO, LLP   3220-000         N/A           4,844.09       3,584.09      3,584.09

 Other - GARY LAMPERT, CPA                   3410-000         N/A           2,485.00       2,485.00      2,485.00

 Other - GARY LAMPERT, CPA                   3420-000         N/A              18.70          18.70         18.70

 Auctioneer for Trustee Fees (including      3610-000         N/A         110,000.00     110,000.00    110,000.00
 buyers premiums) - MALTZ AUCTIONS,INC.
 Other - SABINA FIRESTONE                    2500-000         N/A             250.00         250.00       250.00

 Other - NYC DEPARTMENT OF FINANCE           2820-000         N/A           1,961.05       1,961.05      1,961.05

 Other - BENCHMARK TITLE AGENCY, LLC         2500-000         N/A             250.00         250.00       250.00

 Other - Rabobank, N.A.                      2600-000         N/A           1,534.11       1,534.11      1,534.11

 Other - Rabobank, N.A.                      2600-000         N/A           3,034.64       3,034.64      3,034.64

 Other - DIBRIEL RAGSDALE                    2990-000         N/A          25,000.00      25,000.00     25,000.00

 Other - Rabobank, N.A.                      2600-000         N/A           1,393.79       1,393.79      1,393.79

 Other - Rabobank, N.A.                      2600-000         N/A           1,519.96       1,519.96      1,519.96

 TOTAL CHAPTER 7 ADMIN. FEES                            N/A              $435,013.54    $432,765.04   $432,765.04
 AND CHARGES


EXHIBIT 5 PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES


                                       UNIFORM
    PAYEE                                            CLAIMS          CLAIMS             CLAIMS        CLAIMS
                                        TRAN.
                                                    SCHEDULED       ASSERTED           ALLOWED         PAID
                                        CODE
                                                 None

 TOTAL PRIOR CHAPTER ADMIN.                             N/A                    $0.00          $0.00         $0.00
 FEES AND CHARGES




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EXHIBIT 6 PRIORITY UNSECURED CLAIMS


                                 UNIFORM    CLAIMS               CLAIMS
   CLAIM                                   SCHEDULED            ASSERTED            CLAIMS     CLAIMS
    NO.         CLAIMANT          TRAN.       (from Form       (from Proofs of     ALLOWED      PAID
                                  CODE            6E)               Claim)
                                        None

 TOTAL PRIORITY UNSECURED                              $0.00               $0.00       $0.00       $0.00
 CLAIMS


EXHIBIT 7 GENERAL UNSECURED CLAIMS


                                 UNIFORM    CLAIMS               CLAIMS
   CLAIM                                   SCHEDULED            ASSERTED            CLAIMS     CLAIMS
    NO.         CLAIMANT          TRAN.       (from Form       (from Proofs of     ALLOWED      PAID
                                  CODE            6F)               Claim)
                                        None

 TOTAL GENERAL UNSECURED                               $0.00               $0.00       $0.00       $0.00
 CLAIMS




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                                                                                                                                                                                Exhibit 8


                                                                                  Form 1                                                                                        Page: 1

                                           Individual Estate Property Record and Report
                                                            Asset Cases
Case Number: 1-17-40458-ESS                                                                 Trustee:           (520670)     GREGORY M. MESSER,TRUSTEE
Case Name:        71 QUINCY STREET CORP.                                                    Filed (f) or Converted (c): 02/01/17 (f)
                                                                                            §341(a) Meeting Date:           03/07/17
Period Ending: 02/19/18                                                                     Claims Bar Date:                10/23/17

                                1                                          2                            3                         4                      5                  6

                    Asset Description                                 Petition/             Estimated Net Value              Property           Sale/Funds             Asset Fully
         (Scheduled And Unscheduled (u) Property)                   Unscheduled        (Value Determined By Trustee,        Abandoned           Received by         Administered (FA)/
                                                                       Values             Less Liens, Exemptions,           OA=§554(a)           the Estate          Gross Value of
Ref. #                                                                                        and Other Costs)                                                      Remaining Assets

 1       71 QUINCY STREET, BROOKLYN, NEW YORK                          2,200,000.00                    2,200,000.00                               2,309,823.45                      FA
         11238

 2       PAST DUE RENT FROM PRESENT TENANT (u)                             3,000.00                              0.00                                        0.00                   FA

 2       Assets      Totals (Excluding unknown values)                $2,203,000.00                  $2,200,000.00                               $2,309,823.45                   $0.00



     Major Activities Affecting Case Closing:

                  3/7/17- The Trustee investigating the assets of the Debtor.


                  4/27/17- The Trustee has brought on a motion to sell property free and clear of all liens.


                  5/23/17 - The court signed an order approving the auction sale of the real property located at 71 Quincy Street, Brooklyn, New York.


                  6/15/17 - Auction sale held.


                  6/22/17 - A stipulation conditonally confirming the sale but permitting the Debtor a right of redemption was signed.


                  7/12/17-   Closing on the sale was held.


     Initial Projected Date Of Final Report (TFR):       March 1, 2018                        Current Projected Date Of Final Report (TFR):        November 9, 2017 (Actual)




                                                                                                                                               Printed: 02/19/2018 02:17 PM      V.13.32
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                                                                                                                                                                                Exhibit 9


                                                                                Form 2                                                                                          Page: 1

                                                Cash Receipts And Disbursements Record
Case Number:         1-17-40458-ESS                                                                 Trustee:            GREGORY M. MESSER,TRUSTEE (520670)
Case Name:           71 QUINCY STREET CORP.                                                         Bank Name:          Rabobank, N.A.
                                                                                                    Account:            ******3866 - Checking Account
Taxpayer ID #: **-***7216                                                                           Blanket Bond:       $47,747,648.00 (per case limit)
Period Ending: 02/19/18                                                                             Separate Bond: N/A

   1            2                          3                                      4                                                 5                     6                 7

 Trans.     {Ref #} /                                                                                                           Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From               Description of Transaction                   T-Code              $                  $       Account Balance
06/16/17       {1}        CHARLES FOLLINI                 DOWN PAYMENT ON SALE OF REAL                         1110-000           150,000.00                             150,000.00
                                                          PROPERTY
06/19/17       {1}        CHARLES FOLLINI                 ADDITIONAL DEPOSIT ON SALE OF REAL                   1110-000           180,000.00                             330,000.00
                                                          PROPERTY AND BUYERS PREMIUM
06/30/17                  Rabobank, N.A.                  Bank and Technology Services Fee                     2600-000                                       165.41     329,834.59
07/10/17                  Rabobank, N.A.                  Bank and Technology Services Fee                     2600-000                                       -165.41    330,000.00
                                                          Adjustment
07/12/17       {1}        CHARLES FOLLINI                 BALANCE OF FUNDS ON SALE OF REAL                     1110-000         1,979,823.45                            2,309,823.45
                                                          PROPERTY
07/12/17      101         SABINA FIRESTONE                TITLE CLOSER                                         2500-000                                       250.00    2,309,573.45
07/12/17      102         NYC DEPARTMENT OF FINANCE       KINGS COUNTY BLOCK 1970 LOT 60 2QTR                  2820-000                                    3,425.69     2,306,147.76
                                                          - 4 QTR 2017/2018 RE TAXES
                                                          Stopped on 07/12/17
07/12/17      102         NYC DEPARTMENT OF FINANCE       KINGS COUNTY BLOCK 1970 LOT 60 2QTR                  2820-000                                   -3,425.69     2,309,573.45
                                                          - 4 QTR 2017/2018 RE TAXES
                                                          Stopped: check issued on 07/12/17
07/12/17      103         NYC DEPARTMENT OF FINANCE       KINGS COUNTY BLOCK 1970 LOT 60 2QTR                  2820-000                                    1,961.05     2,307,612.40
                                                          - 4 QTR 2017/2018 RE TAXES
07/12/17      104         BENCHMARK TITLE AGENCY,         ESCROW FOR WATER AND SEWER                           2500-000                                       250.00    2,307,362.40
                          LLC                             TITLE# BTA 75555
07/31/17                  Rabobank, N.A.                  Bank and Technology Services Fee                     2600-000                                    1,534.11     2,305,828.29
08/24/17      105         ADAM LEITMAN BAILEY, P.C., AS   MORTGAGE PAYOFF                                      4110-000                                 955,704.42      1,350,123.87
                          ATTORNEYS
08/31/17                  Rabobank, N.A.                  Bank and Technology Services Fee                     2600-000                                    3,034.64     1,347,089.23
09/07/17      106         DIBRIEL RAGSDALE                RELATED MOVING EXPENSES PAYMENT                      2990-000                                   25,000.00     1,322,089.23
                                                          PURSUANT TO STIPULATION DATED
                                                          9/1/2017
09/29/17                  Rabobank, N.A.                  Bank and Technology Services Fee                     2600-000                                    1,393.79     1,320,695.44
10/31/17                  Rabobank, N.A.                  Bank and Technology Services Fee                     2600-000                                    1,519.96     1,319,175.48
01/10/18      107         LAMONICA HERBST &               Dividend paid 100.00% on $47,071.00,                 3210-000                                   47,071.00     1,272,104.48
                          MANISCALCO, LLP                 Attorney for Trustee Fees (Other Firm);
                                                          Reference:
01/10/18      108         LAMONICA HERBST &               Dividend paid 100.00% on $3,584.09, Attorney         3220-000                                    3,584.09     1,268,520.39
                          MANISCALCO, LLP                 for Trustee Expenses (Other Firm); Reference:
01/10/18      109         MALTZ AUCTIONS,INC.             Dividend paid 100.00% on $110,000.00,                3610-000                                 110,000.00      1,158,520.39
                                                          Auctioneer for Trustee Fees (including buyers
                                                          premiums); Reference:
01/10/18      110         GARY LAMPERT, CPA               Dividend paid 100.00% on $2,485.00,                  3410-000                                    2,485.00     1,156,035.39
                                                          Accountant for Trustee Fees (Other Firm);
                                                                                                    Subtotals :                $2,309,823.45       $1,153,788.06
{} Asset reference(s)                                                                                                                        Printed: 02/19/2018 02:17 PM        V.13.32
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                                                                                                                                                                                   Exhibit 9


                                                                                 Form 2                                                                                            Page: 2

                                                Cash Receipts And Disbursements Record
Case Number:        1-17-40458-ESS                                                                     Trustee:            GREGORY M. MESSER,TRUSTEE (520670)
Case Name:          71 QUINCY STREET CORP.                                                             Bank Name:          Rabobank, N.A.
                                                                                                       Account:            ******3866 - Checking Account
Taxpayer ID #: **-***7216                                                                              Blanket Bond:       $47,747,648.00 (per case limit)
Period Ending: 02/19/18                                                                                Separate Bond: N/A

   1            2                        3                                         4                                                   5                     6                 7

 Trans.     {Ref #} /                                                                                                              Receipts        Disbursements    Checking
  Date      Check #        Paid To / Received From                Description of Transaction                      T-Code              $                  $       Account Balance
                                                          Reference:
01/10/18      111        GARY LAMPERT, CPA                Dividend paid 100.00% on $18.70, Accountant             3420-000                                       18.70   1,156,016.69
                                                          for Trustee Expenses (Other Firm); Reference:
01/10/18      112        NYS CORPORATION TAX              Dividend paid 100.00% on $1,000.00, Other               2820-000                                    1,000.00   1,155,016.69
                                                          State or Local Taxes (post-petition, incl.
                                                          post-petition real est. taxes); Reference:
01/10/18      113        NYC DEPARTMENT OF FINANCE        Dividend paid 100.00% on $141,096.00, Other             2820-000                                 141,096.00    1,013,920.69
                                                          State or Local Taxes (post-petition, incl.
                                                          post-petition real est. taxes); Reference:
01/10/18      114        DIBRIEL RAGSDALE                 Final Distribution Dividend paid 100.00% on             8500-002                                 921,353.99          92,566.70
                                                          $921,353.99; Claim# DR; Filed: $920,853.99
01/10/18      115        GREGORY M. MESSER,TRUSTEE COMBINED CHECK FOR TRUSTEE                                                                                92,566.70                0.00
                                                          COMPENSATION, EXPENSES AND
                                                          INTEREST
                                                             Dividend paid 100.00%             92,544.70          2100-000                                                            0.00
                                                             on $92,544.70; Claim# ;
                                                             Filed: $92,544.70
                                                             Dividend paid 100.00%                 22.00          2200-000                                                            0.00
                                                             on $22.00; Claim# ;
                                                             Filed: $22.00

                                                                                 ACCOUNT TOTALS                                    2,309,823.45        2,309,823.45                  $0.00
                                                                                         Less: Bank Transfers                               0.00                  0.00
                                                                                 Subtotal                                          2,309,823.45        2,309,823.45
                                                                                         Less: Payments to Debtors                                                0.00
                                                                                 NET Receipts / Disbursements                     $2,309,823.45       $2,309,823.45

                           Net Receipts :         2,309,823.45
        Less Other Noncompensable Items :           921,353.99                                                                           Net             Net                   Account
                                               ————————                          TOTAL - ALL ACCOUNTS                                  Receipts     Disbursements              Balances
                                Net Estate :     $1,388,469.46
                                                                                 Checking # ******3866                             2,309,823.45        2,309,823.45                   0.00

                                                                                                                                  $2,309,823.45       $2,309,823.45                  $0.00




{} Asset reference(s)                                                                                                                           Printed: 02/19/2018 02:17 PM        V.13.32
